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15

16                        UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA
18

19
                                                 Case No.: 8:19-cv-00909-JLS-DFM
20   YUNG-HUI CHEN, on behalf of herself
     and all others similarly situated,
21    PLAINTIFFS,
                                                 PLAINTIFF’S MEMORANDUM OF
                                                 POINTS AND AUTHORITIES IN
22                                               SUPPORT OF MOTION FOR
      vs.                                        FINAL APPROVAL OF CLASS
23                                               ACTION SETTLEMENT
24                                               Date: November 20, 2020
      WESTERN DIGITAL                            Time: 10:30 a.m.
25    CORPORATION AND WESTERN
      DIGITAL TECHNOLOGIES, INC.,                Courtroom: 10A
26    DEFENDANTS.                                Judge: Hon. Josephine L. Staton
27                                               Complaint Date: May 14, 2019
                                                 Trial Date: None
28



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 1   I.    INTRODUCTION
 2         On behalf of herself and the conditionally certified Class of current and
 3   former female employees, Plaintiff Class Representative Yunghui Chen moves for
 4   final certification of the Class and final approval of the Parties’ Amended Collective
 5   and Class Action Settlement, as modified by the Addendum (the “Settlement”).
 6   This $7.75 million, non-reversionary Settlement provides meaningful financial
 7   redress to each Class Member and commits Defendants to sweeping programmatic
 8   relief that will benefit women at Western Digital for years to come.
 9         The Class has signaled near-unanimous support for the Settlement. Each of
10   the 1,863 Class Members received a detailed, Court-approved notice apprising them
11   of the terms of the Settlement and their options to participate, opt out, or object. In
12   response, only five (5) have requested exclusion and none has objected. This signals
13   that the Settlement is fair, reasonable, and adequate in the opinion of the Class.
14         Each of the factors courts consider in evaluating a Class settlement weighs in
15   favor of approval. This Settlement is the product of well-informed, arm’s length
16   negotiations between experienced counsel and provides relief for the Class that is
17   fair, reasonable, and adequate in light of the risk, burdens, and delays of litigation.
18   In accordance with “the strong judicial policy” favoring class action settlements,
19   Linney v. Alaska Cellular P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998), the Court
20   should approve the Settlement and dismiss the action.
21   II.   FACTUAL BACKGROUND
22         A.     Summary of the Claims
23         Plaintiff Yunghui Chen was employed at Western Digital for more than ten
24   years. She alleges that Western Digital systemically failed to pay women equally to
25   men and discriminated against women in pay, promotions, and placement, in
26   violation of federal and state anti-discrimination laws. These allegations are based
27   on common systems of compensation and promotion that result in unjustified,
28   widespread, and uniform disparities in compensation, promotion, and placement.

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 1         Western Digital has consistently denied any wrongdoing and has denied all
 2   of Plaintiff’s individual and class allegations; it maintains that Plaintiff’s individual
 3   claims lack factual and legal merit. Western Digital further maintains that, absent a
 4   settlement, Plaintiff would not be able to certify a class action under Rule 23 or a
 5   collective action on the Equal Pay Act (EPA) claims under 29 U.S.C. § 216(b).
 6         B.     Preliminary Approval
 7         The Parties reached their original Collective and Class Action Settlement
 8   after extensive informal discovery, expert analysis of class-wide data, protracted
 9   negotiations, and a mediation session with renowned mediator David Rotman, as
10   fully described in Plaintiff’s Amended Memorandum ISO Preliminary Approval.
11   (See also Declaration of Danielle Fuschetti ISO Preliminary Approval of Class
12   Settlement (Doc. 6-3) ¶¶ 12-15.) On May 14, 2019, Plaintiff filed the Complaint in
13   this action along with a Motion for Preliminary Settlement Approval. In addition to
14   her initial papers, Plaintiff also filed two rounds of targeted supplemental briefing
15   before the preliminary approval hearing. (Docs. 38 & 43.) Through the rigorous
16   preliminary approval process, the Court and the Parties thoroughly probed the
17   Settlement and made improvements that will inure to the benefit of the Class.
18         The Court held a preliminary approval hearing on December 6, 2019. At the
19   hearing, the Court stated that “the agreement overall appears to be very good for
20   the class,” and expressed that the “injunctive sort of relief, the prospective relief
21   and the monitoring and all that is – it’s really fantastic.” (Tr. 22:5, 12:1-3) The Court
22   accordingly issued an Order preliminarily approving the settlement on April 3,
23   2020. In the Order, the Court conditionally certified the Class and EPA Collective
24   Action for settlement purposes, named Plaintiff Yunghui Chen Class
25   Representative, named David Sanford and Felicia Medina Class Counsel, and
26   approved the original Settlement and the Notice subject to certain revisions.
27         Following the Order, the Parties provided additional information requested
28   by the Court. (See Docs. 63, 64, 66.) The Parties also agreed upon and filed an

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 1   Amended Settlement Agreement (Doc. 67-1), which implemented several changes
 2   outlined in the Order and made other minor edits. Pursuant to the Order, the
 3   Settlement Agreement (1) created a separate opt-in mechanism for the EPA claims
 4   (Settlement § 4.3.4); (2) modified the Notice to inform class members of the
 5   circumstances under which they could have signed a prior release and why doing
 6   so would impact their awards; and (3) added a special notification adapted from
 7   DOL Form WH-58 to accompany EPA payments (Settlement, Ex. 1).
 8          On May 12, 2020, the Court issued a Minute Order finding that the Parties
 9   had satisfied its conditions for preliminary approval and approved dissemination of
10   the Class Notice. (Doc. 70.) The Parties submitted an Addendum addressing
11   remaining issues. (Doc. 71.) On June 26, 2020, the Court approved the Addendum.
12          C.    The Notice Process and the Class’ Response
13          On July 31, 2020, the Class Administrator mailed Class Notices to 1,863
14   Class Members. (Decl. of Chris Pikus ¶ 11.) The Notice advised Class Members of
15   their anticipated shares of the common fund and informed them that they could
16   submit a request for exclusion, objection, and/or dispute postmarked by September
17   29, 2020. (Id. Ex. A.) The Administrator performed address traces on Notices
18   returned as undeliverable and promptly re-mailed the Notice to those Class
19   Members for whom alternate addresses were identified. (Id ¶ 12.) As of the date of
20   this filing, the Administrator has received no objections and only five (5) requests
21   for exclusion—for an opt-out rate of approximately 0.27%. (Id. ¶ 15.)
22   III.   THE SETTLEMENT BEFORE THE COURT
23          The non-reversionary Settlement Fund provides a significant payment to
24   each Class and Collective Member, in addition to class-wide programmatic relief,
25   tailored to the claims and designed to secure equal opportunity for women at
26   Western Digital. The Settlement has the support of Plaintiff, Class Counsel,
27   Western Digital, and the Class, which has not raised a single objection.
28          A.    $7,750,000 Settlement Fund

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 1         If approved, under the Settlement and Plaintiffs’ Motion for an Award of
 2   Attorney’s Fees and Costs, Western Digital will make a non-reversionary payment
 3   of $7,750,000 into a common Settlement fund, to be allocated as follows:
 4         • $75,000 to the California Labor and Workforce Development Agency;
 5         • $50,000 for the Class Administrator’s fees and expenses;
 6         • $30,000 for the payment of the Service Award;
 7         • Up to 33 1/3% of the Settlement Fund in combined attorneys’ fees and
 8         costs, including expenses incurred by Class Counsel in the prosecution of this
 9         action to date (such as expert witness fees), excess costs incurred by the
10         claims administrator (estimated at over $47,000), and the costs of any future
11         mediation related to the implementation of the programmatic relief.
12   The remainder of the Fund will become the net Awards Fund for distribution to
13   Class and Collective Action Members. In the pending motion for an award of
14   attorney’s fees and costs, the service payment, and other disbursements, Plaintiff
15   seeks less than the amounts set forth in the Settlement and disclosed in the Notice.
16         B.     Settlement Awards Fund and Class Member Payments
17         Any portion of the cash Settlement Fund not allocated to other uses will be
18   included in the net Fund for distribution to the employee class based on a formula
19   that accounts for each Member’s rate of pay and length of employment, as well as
20   whether the Member has previously signed a release of claims. Settlement § 4.3. If
21   the Court grants the requested attorneys’ fees, costs and expenses, and service
22   award, the Fund will contain $5,011,667, providing for a maximum individual net
23   recovery of $17,758.81, an average individual net recovery of approximately
24   $2,693, and an average recovery of approximately $3,184 for Class Members who
25   have not previously signed a severance releasing their claims. (Pikus Decl. ¶ 16.)
26         Class Members who do not opt out of this Settlement and do not indicate
27   their intention not to participate in the EPA Monetary Relief, will receive two
28   checks: an EPA check for 25 percent of the individual recovery, representing

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 1   consideration for the release of EPA claims, and a Class Action Settlement check
 2   for the remaining 75 percent of the individual recovery, which will represent
 3   consideration for release of the other claims. Settlement § 4.3.4.
 4         C.     Programmatic Relief
 5         Under the Settlement, Western Digital will also undertake two years of
 6   sweeping programmatic measures to help eliminate gender disparities and foster
 7   equal employment opportunity going forward. This programmatic relief has an
 8   immeasurable monetary value, which is separate from the cash Settlement fund.
 9         Under the programmatic terms of the Settlement, Defendants will undertake
10   initiatives to (1) evaluate, promote, and compensate women equitably; (2) perform
11   statistical analyses with regard to promotions and compensation; (3) design and
12   execute leadership development initiatives for women; (4) bolster their policies
13   regarding flexible work arrangements and maternity and parental leave; (5)
14   maintain records relevant to this agreement; (6) reinforce their commitment to EEO
15   compliance and enforcement; (7) enhance their processes for investigation of
16   internal complaints, such as complaints of gender discrimination; and (8) develop
17   concrete plans for recruiting and developing female employees. Settlement §§ 3.4–
18   3.10. It is anticipated that these wide-ranging reforms will have a tangible impact
19   on the daily experience and career trajectory of women working at Western Digital.
20         The Settlement also provides mechanisms for ensuring full implementation
21   of the programmatic relief. Defendants will appoint an internal Compliance
22   Monitor at a Director level or above who will be charged with overall responsibility
23   for monitoring compliance with the terms of the Settlement and will be provided
24   with support staff, funds, and other resources reasonably necessary to discharge
25   those duties. Id. § 3.2. In addition, Defendants will provide Class Counsel with a
26   compliance report, id. § 3.2.5, and will separately report certain results from the pay
27   and promotion equity studies. Id. §§ 3.7.4; 3.8.3. Finally, the Settlement provides
28   for a streamlined dispute resolution and enforcement process. Id. § 3.3.3.

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 1         D.     Release of Claims
 2         The Settlement contains tailored releases of Class and EPA claims. Both
 3   releases expressly do not apply to any claims “based on or arising out of events
 4   occurring after the last day of the Opt-out Period.” Settlement § 11.3.
 5         Upon the Effective Date, Class Members who have not opted out of the
 6   Settlement will release “all Released Parties from all claims asserted in the
 7   Complaint under applicable state, local, and federal law that were brought in the
 8   Litigation or that are based on the same facts and circumstances as the claims
 9   brought in the litigation.” Id. § 11.1. The released claims include: “(i) claims for
10   gender-based unequal pay, and (ii) claims for disparate treatment and pattern and
11   practice discrimination based on gender with respect to all forms of compensation
12   (including but not limited to salary, bonus, and stock or equity awards), job code
13   placement, and denial of promotion, and (iii) claims for disparate impact
14   discrimination based on gender with respect to all forms of compensation (including
15   but not limited to salary, bonus and stock or equity awards), job code placement,
16   and denial of promotion.” Id. The settlement goes on to describe the laws under
17   which released claims arise. Id.
18         Collective Action Plaintiffs who negotiate their check for EPA consideration
19   shall be deemed to have opted into the collective action and, as of the Effective
20   Date, accepted a release of “all gender-based discrimination claims she has or may
21   have involving alleged unequal, disparate, or unfair compensation under [EPA], 29
22   U.S.C. §206(d), that were brought in the Litigation or that are based on the same
23   facts and circumstances as the claims brought in the Litigation.” Id. § 11.2.
24         Class Members will not release other claims, such as wrongful termination,
25   or claims based on or arising from events after the last day of the Notice period.
26         E.     Cy Pres Recipients
27         The funds from any uncashed checks will be distributed in equal shares to
28   Legal Aid at Work and Community Legal Aid SoCal, two organizations that

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 1   provide support to women in the workplace. Settlement § 7.5; Addendum § 5 (Doc.
 2   71); Declaration of Susannah K. Howard Re: Cy Pres Recipient.
 3   IV.   ARGUMENT
 4         A.     Class Action Settlements Are Favored and Should Be Approved When
                  Fundamentally Fair, Adequate, and Reasonable 1
 5
                  1.     There Is a Strong Policy in Favor of Settlements, Particularly
 6                       in Employment Discrimination Class Actions
 7         It is well-established that there is a strong policy in favor of settlement; this
 8   policy is especially pronounced in complex class action litigation and even more so
 9   in the context of employment discrimination. See, e.g., Officers for Justice v. Civil
10   Serv. Comm’n of S.F., 688 F.2d 615, 625 (9th Cir. 1982) (“[V]oluntary conciliation
11   and settlement are the preferred means of dispute resolution. This is especially true
12   in complex class action litigation, and even more so where the subject matter is
13   employment discrimination.”). Particularly in the context of employment
14   discrimination claims, the United States Supreme Court has noted “a strong
15   preference for encouraging voluntary settlement.” Carson v. Am. Brands, Inc., 450
16   U.S. 79, 88 n.14 (1981). 2 As that Court has further emphasized, settlements provide
17   class members with compensation “without the burdens, stress, and time of
18   litigation”; some class members may even recover more than they could have at
19   trial. Moreover, settlements serve the interests of the court and the public by
20   “helping to lessen docket congestion.” Marek v. Chesny, 473 U.S. 1, 10 (1985).
21         Title VII class settlements “are afforded a presumption of validity because
22   they may produce more favorable results for protected groups than would more
23   sweeping judicial orders that could engender opposition and resistance, and because
24
     1
       To facilitate settlement, the Court should grant final certification of the settlement
25   Classes and the EPA Collective for the reasons set forth at preliminary approval.
26   2
       See also Cotton v. Hinton, 559 F.2d 1326, 1330-31 (5th Cir. 1977); Berkley v.
     United States, 59 Fed. Cl. 675, 680-81 (Fed. Cl. 2004); see further, e.g., Linney,
27   151 F.3d at 1238 (reinforcing “the strong judicial policy that favors settlements,
28
     particularly where complex class action litigation is concerned”) (citation omitted);
     Wal-Mart Stores, Inc. v. Visa USA, Inc., 396 F.3d 96, 116-17 (2d Cir. 2005).
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 1   they also reduce the cost of litigation, promote judicial economy, and vindicate an
 2   important societal interest by promoting equal opportunity.” Block v. Revlon, Inc.,
 3   No. 80 Civ. 1378, 1985 WL 56614, at *9 (S.D.N.Y. May 10, 1985).
 4                2.     The Court Need Only Determine Whether the Settlement Is
                         “Fair as a Whole”
 5
           “The very essence of a settlement is compromise, a yielding of absolutes and
 6
     an abandoning of highest hopes.” Officers for Justice, 688 F.2d at 624 (citation
 7
     omitted). Hence, the Court’s role in evaluating and approving a class action
 8
     settlement is limited in nature: “The proposed settlement is not to be judged against
 9
     a hypothetical or speculative measure of what might have been achieved by the
10
     negotiators.” Id. at 625. “Ultimately, the district court’s determination is nothing
11
     more than an amalgam of delicate balancing, gross approximations and rough
12
     justice.” Id. (citation omitted). 3 A court should therefore approve a class settlement
13
     if it is “fundamentally fair, adequate and reasonable.” Id. at 625. The Court’s “role
14
     . . . is limited to the extent necessary to reach a reasoned judgment that the
15
     agreement is not the product of fraud or collusion between the negotiating parties,
16
     and that the settlement is fair as a whole.” Odrick v. UnionBanCal Corp., No. C 10–
17
     5565, 2012 WL 6019495, at *3 (N.D. Cal. Dec. 3, 2012). It is not within the Court’s
18
     purview “to reach any ultimate conclusions regarding the merits of the dispute, nor
19
     to second guess the settlement terms.” Id. (citing Officers for Justice); see also
20
     Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (“Neither the district
21
     court nor this court ha[s] the ability to delete, modify or substitute certain
22
     provisions.”) (citation omitted).
23
           To assess fairness, reasonableness, and adequacy, the Court examines:
24

25   3
       See also Berkley, 59 Fed. Cl. at 686 (“A just settlement amount is often no more
26   than an arbitrary point between competing notions of reasonableness. Moreover,
     the approving court need not make a fairness determination with mathematical
27   precision, because [t]he weighing of a claim against compensation cannot be . . .
28
     exact. Nor should it be, since an exact judicial determination of the values at issue
     would defeat the purpose of compromising the claim . . . .”) (citations omitted).
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 1
           (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity,
           and likely duration of further litigation; (3) the risk of maintaining class
 2         action status throughout the trial; (4) the amount offered in settlement; (5)
 3         the extent of discovery completed and the stage of the proceedings; (6)
           the experience and views of counsel; (7) the presence of a governmental
 4         participant; and (8) the reaction of the class members to the proposed
 5         settlement.
     Churchill Village, LLC v. General Electric, 361 F.3d 566, 575 (9th Cir. 2004)
 6
     (citation omitted); see also Fed. R. Civ. 23(e)(2). 4
 7
           B.     The Settlement Should Be Afforded a Strong Presumption of Fairness
 8
           “Settlements are afforded a presumption of fairness if (1) the negotiations
 9
     occurred at arm’s length; (2) there was sufficient discovery; (3) the proponents of
10
     the settlement are experienced in similar litigation; and (4) only a small fraction of
11
     the class objected.” Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 445 (E.D.
12
     Cal. 2013); see also Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D.
13
     523, 525–29 (C.D. Cal. 2004) (explaining final approval factors). That presumption
14
     of fairness is reinforced when the Court has already given preliminary approval to
15
     a settlement. See In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D.
16
     Cal. 2007) (“‘[The] preliminary [approval] determination establishes an initial
17
     presumption of fairness.’”) (quoting In re Gen. Motors Corp., 55 F.3d 768, 784 (3d
18
     Cir. 1995)).This Settlement here fits the bill and should be presumed to be fair.
19
20                1.     The Parties’ Arm’s Length Negotiations, Significant Pre-
                         Settlement Discovery, and Absence of a Reversionary Clause
21                       Support Approval
           “A settlement following sufficient discovery and genuine arms-length
22
     negotiation is presumed fair,” because these conditions “suggest . . . that the Parties
23
     arrived at a compromise based on a full understanding of the legal and factual issues
24
     surrounding the case.” DIRECTV, 221 F.R.D. at 527-28 (citations omitted). Here,
25

26
     4
       The recent amendments to Rule 23(e) do not alter the Court’s analysis, as
27   explained in Greer v. Dick’s Sporting Goods, Inc., No. 2:15-CV-01063, 2020 WL
28
     5535399, at *3 (E.D. Cal. Sept. 15, 2020); see also 4 Newberg on Class Actions §
     13:14 (5th ed. 2019) (amendments “essentially codified [courts’] prior practice”).
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 1   there can be no question that the Settlement was the result of hard-fought, arm’s
 2   length negotiation. The Settlement was reached only after a thorough investigation
 3   and negotiation process that included extensive informal discovery and the analysis
 4   of data regarding the Classes and their potential damages. The Parties fully aired
 5   their respective positions in a lengthy mediation with an experienced and highly
 6   reputed third-party neutral. The assistance of an impartial mediator strongly
 7   suggests the absence of collusion. See, e.g., Morales v. Steveco, Inc., No. 1:09-cv-
 8   704, 2011 WL 5511767, at *11 (E.D. Cal. Nov. 10, 2011).
 9         In addition, the Settlement contains no reversionary clause, meaning that all
10   funds will be distributed. This further indicates a lack of collusion, supporting final
11   approval. Betancourt v. Advantage Hum. Resourcing, Inc., No. 14-cv-01788, 2015
12   WL 12661922, at *7 (N.D. Cal. Aug. 28, 2015). Simply put, “the risk of collusion
13   among counsel is so small that it is effectively non-existent.” Wade v. Kroger Co.,
14   No. 3:01CV-699-R, 2008 WL 4999171, at *3 (W.D. Ky. Nov. 20, 2008).
15                2.     Counsel Are Skilled and Seasoned Employment Lawyers
16         Class Counsel, Sanford Heisler Sharp, LLP (SHS), is a nationwide firm
17   experienced in complex class action litigation, particularly in gender discrimination
18   cases. Federal courts have repeatedly recognized Sanford Heisler Sharp for its
19   zealous advocacy. See e.g., Pan v. Qualcomm, Inc., No.: 16-cv-01885, 2017 WL
20   3252212, at *5, *9 (S.D. Cal. July 31, 2017); id. at *12 (“[SHS] has expended
21   tremendous effort in resolving this case favorably, thoroughly, and expeditiously.
22   . . . Further Counsel has been nationally recognized both by courts and various
23   industry groups as being highly skilled and experienced in class action employment
24   cases.”). 5 Medina Orthwein LLP is a queer-owned, public interest law firm headed
25   by Felicia Medina, an experienced class action litigator, who has served as class
26

27   5
      See also Zolkos v. Scriptfleet, Inc., No. 12 Civ. 8230, 2014 WL 7011819, at *5
28
     (N.D. Ill. Dec. 12, 2014) (collecting cases on SHS’s record in employment actions).

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 1   counsel on numerous employment class actions, including some of the most
 2   significant Title VII class actions. Declaration of Felicia Medina ISO Motion for
 3   Attorneys’ Fees, Expenses, and Service Award (Doc 79-2) ¶¶ 2-5.
 4                  3.     No Employees Have Objected to the Settlement
 5          “It is established that the absence of a large number of objections to a
 6   proposed class action settlement raises a strong presumption that the terms of a
 7   proposed class settlement action are favorable to the class members.” In re
 8   Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2007) (citation
 9   omitted); see also Churchill Village, 361 F.3d at 576-77. Here, 1,863 employees
10   have received notice and an opportunity to opt-out or object to the Settlement. Yet,
11   there have been only five opt-outs (0.27%) and no objections. This overwhelming
12   response represents a resounding endorsement of the Settlement. See, e.g., Chu v.
13   Wells Fargo Invs. LLC, No. C 05-4526, 2011 WL 672645, at *4 (N.D. Cal. Feb. 15,
14   2011) (“[I]t is strong testament to the fairness of the settlement that not a single
15   objector has come forward and that only 16 out of 2,752 noticed class members
16   opted out.”). 6 In addition, several class members have expressed their support for
17   the settlement to Counsel, with one submitting a declaration on the record. (Sanford
18   Decl. ¶ 15.)
19         C.       The Settlement Is Fair, Reasonable, and Adequate
20         The history of this matter thus affords the Settlement a presumption of
21   fairness. Moreover, the remaining factors enumerated in Churchill Village also
22   demonstrate that the Settlement’s terms are eminently fair and reasonable.
23               1.     The Strength of the Case, and the Risk, Complexity, and
                        Duration of Further Litigation
24

25   6
       See also Franco v. Ruiz Food Prods., Inc., No. 1:10–cv–02354, 2012 WL
26   5941801, at *10 (E.D. Cal. Nov. 27, 2012) (“[t]he settlement is [] entitled to a
     presumption of fairness” where, inter alia, there were no objections filed); Garcia
27   v. Gordon Trucking, Inc., No. 1:10-CV-324, 2012 WL 5364575, at *5 (E.D. Cal.
28
     Oct. 31, 2012) (approving wage and hour settlement with average award of $1,626
     where there were no objections, and less than 1% of the class elected to opt out).
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 1         Both the procedural and substantive issues of this case have been hotly
 2   contested. The Parties have engaged in extensive discovery, data analysis, and
 3   negotiations. Absent settlement, the costs of litigating would have increased
 4   significantly for both sides. Counsel would have had to litigate the propriety of both
 5   Rule 23 and second-stage EPA certification, dispositive motions, a trial, and
 6   potential appeals. This process would have necessitated continued and lengthy
 7   discovery including costly and time-intensive depositions of Class Members across
 8   the country. See, e.g., DIRECTV, Inc., 221 F.R.D. at 526 (“unless the settlement is
 9   clearly inadequate, its acceptance and approval are preferable to lengthy and
10   expensive litigation with uncertain results”).
11         Moreover, while Plaintiffs believe they have meritorious claims, Defendants
12   deny liability, and it is entirely possible that the Court would find against Plaintiffs.
13   The Settlement, which guarantees that Class Members receive substantial
14   recoveries and robust programmatic relief, provides significant advantages over
15   rolling the dice and proceeding to final adjudication on the merits—after which the
16   Class might achieve nothing. See, e.g., In re Toyota Motor Corp. Unintended
17   Acceleration Mktg., Sales Practices, & Prods. Liab. Litig., No. 8:10ML 02151,
18   2013 WL 3224585, at *14 (C.D. Cal. July 24, 2013) (approving class settlement
19   over numerous objections because, “[s]imply put, Plaintiffs might eventually
20   recover more with continued litigation, but they also might recover nothing”).
21         In short, the Settlement provides a substantial and immediate benefit to the
22   Classes, which is “preferable to lengthy and expensive litigation with uncertain
23   results.” Knapp v. Art.com, Inc., 283 F. Supp. 3d 823, 832 (N.D. Cal. 2017). 7
24   7
       See also, e.g., Williams v. Costco Wholesale Corp., No. 02-cv-2003, 2010 WL
25   2721452, at *3 (S.D. Cal. July 7, 2010) (“Given these risks, the Court agrees that
     the actual recovery through settlement confers substantial benefits on the class that
26   outweigh the potential recovery through full adjudication.”); Bond v. Ferguson
     Enters., No. 1:09-cv-01662, 2011 WL 284962, at *7 (E.D. Cal. Jan. 25, 2011)
27   (“Even if Plaintiffs were to prevail, they would be required to expend considerable
28
     additional time and resources, potentially outweighing any additional recovery
     obtained through successful litigation.”).
                                          19
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 1                2.     The Risks of Maintaining Class Status Through Trial
 2         Western Digital has agreed to class and collective action certification for
 3   settlement purposes, but has made clear that absent this Settlement, it would have
 4   contested the propriety of class treatment both in response to a motion for
 5   certification and through any trial. Substantial disputes remain as to both merits
 6   issues and the certifiability of the Classes. Disputes pertaining to certification stem
 7   from the constant evolution of Rule 23 jurisprudence in light of the Supreme Court’s
 8   ruling in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), as well as recent
 9   lower-court decisions interpreting it. While Plaintiff believes this matter would
10   have ultimately proceeded through trial as a class action, she recognizes that this
11   was a significant challenge and by no means guaranteed.
12         Thus, this factor clearly weighs in favor of settlement. See, e.g., Couser v.
13   Comenity Bank, 125 F. Supp. 3d 1034, 1042 (S.D. Cal. 2017) (“Where there is a
14   risk of maintaining class action status throughout the trial, this factor favors
15   approving the settlement.”); Chu, 2011 WL 672645, at *4 (noting that “the outcome
16   of plaintiffs’ case was far from certain, particularly in light of several recent
17   decertification orders and denials of certification in similar … class actions”). 8
18                3.     The Benefits Provided by the Settlement
19         When evaluating the sufficiency of a settlement, the Court must consider the
20   settlement as a whole and not its individual components, such as the direct cash
21   relief provided through the class monetary fund. As stated in Officers for Justice:
22         It is well-settled law that a cash settlement amounting to only a fraction
23         of the potential recovery will not per se render the settlement inadequate
           or unfair.9 This is particularly true in cases, such as this, where monetary
24

25   8
       See further Morales, 2011 WL 5511767, at *10 (“Plaintiffs acknowledge that even
26   if they demonstrate wage and hour violations … there would be substantial risk the
     Class would not be certified by the Court.”) (quotation omitted).
27   9
       See also, e.g., Linney, 151 F.3d at 1242 (“The fact that a proposed settlement may
28   only amount to a fraction of the potential recovery does not, in and of itself, mean

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 1
           relief is but one form of the relief requested by the plaintiffs. It is the
           complete package taken as a whole, rather than the individual component
 2         parts, that must be examined for overall fairness.
 3   688 F.2d at 628. 10 Further, “the provisions of a class action settlement must be
 4   viewed in terms of a range of probabilities, not mere possibilities.” Id. at 630. 11 The
 5   Court’s essential function is to assess “whether the settlement falls below
 6   the lowest point in the range of reasonableness.” Long v. HBSC USA, Inc., No. 14
 7   Civ. 6233, 2015 WL 5444651, at *5 (S.D.N.Y. Sept 11, 2015) (citation omitted).
 8         Here, the Settlement provides for comprehensive programmatic relief crafted
 9   to address the alleged violations and to ensure that women are treated fairly and
10   equitably going forward. The Court has previously commended the programmatic
11   relief provisions as “really fantastic” and “very helpful to the class” (Tr. of 12/6/19
12

13   that the proposed settlement is grossly inadequate and should be disapproved.”)
14   (citing City of Detroit v. Grinnell Corp., 495 F.2d 448, 455 & n.2 (2d Cir. 1974));
     Grinnell, 495 F.2d at 455n.2 (“There is no reason, at least in theory why a
15   satisfactory settlement could not amount to a hundredth or even a thousandth of a
     single percent of the potential recovery.”); see further Bryan v. PPG, 494 F.2d 799,
16   802 (3d Cir. 1974) (“[W]e believe there is a strong likelihood that [defendants]
17
     would not have been held liable to plaintiffs for back pay. We, therefore, reject
     appellants’ contention that, given the likely trial result, the district court abused its
18   discretion in approving the settlement for a low proportion of plaintiffs’ asserted
     loss.”).
19   10
        See also, e.g., Martens v. Smith Barney, 181 F.R.D. 243, 265 (S.D.N.Y. 1998)
20   (noting that “[c]ourts approve even settlements that fully waive damages claims
     where, as here, the settlements implement structural reforms to remedy the
21   widespread civil rights violations plaintiffs allege,” and that settlements are even
     more favorable and suitable for approval when they allow or provide for monetary
22   relief in addition to injunctive measures); Wilkerson v. Martin Marietta Corp., 171
23   F.R.D. 273, 292 (D. Colo. 1997) (“the reasonableness of the monetary settlement is
     supported by the additional non-monetary provisions of the settlement”); Holden v.
24   Burlington N. Inc., 665 F. Supp. 1398, 1414 (D. Minn. 1987).
25
     11
        See also, e.g., Ma v. Covidien Holding Inc., No. SACV 12–02161, 2014 WL
     2472316, at *3 (C.D. Cal. May 30, 2014) (comparing wage and hour settlement to
26   “what the plaintiffs were likely going to recover”; determining that 9-18% recovery
     supported approval); Parker v. Anderson, 667 F.2d 1204, 1209-10 & n.6 (5th Cir.
27   1982) (approving employment discrimination settlement based on “realistic range”
28
     of recovery, and indicating that even if there were a “comfortable probability” of a
     $5 million recovery, a $1.44 million settlement would still be reasonable).
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 1   Prelim. Approval Hearing, at 12:1-6), and all indications are that the Class heartily
 2   concurs. Class Members will receive substantial benefits from this relief, which will
 3   materially advance the goal of equal opportunity for female Western Digital
 4   employees. The programmatic provisions carry a considerable dollar value in terms
 5   of prospective raises and promotions that is difficult to calculate but sure to have
 6   reverberating effects for years to come. As in Officers for Justice, the vigorous slate
 7   of programmatic relief provided by the settlement strongly supports approval. Id. at
 8   628 (“Without admitting any violations of law. . . defendants bound themselves to
 9   comply with a broad range of both restrictive and affirmative mandates covering
10   every act, practice, policy, or custom addressed in plaintiffs’ complaint. To this was
11   added the grant of back pay, which is substantial, though potentially less than
12   complete in some instances.”); see also, e.g., Lane v. Brown, 166 F. Supp.3d 1180,
13   1189-90 (D. Or. 2016) (injunctive relief obtained in disability discrimination case
14   was “valuable and substantial,” weighing “heavily” in favor of final settlement
15   approval); Curtis-Bauer v. Morgan Stanley & Co., Inc., No. C 06-3903, 2008 WL
16   4667090, at *5 (N.D. Cal. Oct. 22, 2008) (characterizing injunctive relief in
17   employment discrimination case as “substantive, meaningful, and valuable to the
18   class.”); id. at *8 (observing that the injunctive relief provided by the settlement
19   “will mitigate any future harm stemming from discrimination during the class
20   period”). 12 “[I]n the area of equitable relief, which is the primary focus of Title VII
21   actions, there was very little to be gained by the class in taking the case to trial,
22   especially when balanced against the risks of litigating so complex a case.” Ellis v.
23
     12
        See also Ingram v. Coca-Cola Co., 200 F.R.D. 685, 689 (N.D. Ga. 2001) (in
24   employment discrimination case, granting final settlement approval due in part to
25   strength of programmatic relief); Holloway v. Best Buy Co., Inc., No. C-05-5056,
     2011 WL 13257999, at *1 (N.D. Cal. Nov. 9, 2011) (concluding that employment
26   discrimination settlement providing solely for injunctive relief “is rationally related
     to the strength of plaintiffs’ and class members’ claims given the risk, expense,
27   complexity, and duration of further litigation”); In re LifeLock, Inc., No. 08-1977,
28
     2010 WL 11627648, at *4 (D. Ariz. Aug. 25, 2010) (“Many courts have approved
     settlements where, as here, the consideration offered consists of injunctive relief.”).
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 1   Naval Air Rework Facility, 87 F.R.D. 15, 18-19 (N.D. Cal. 1980).
 2         In addition, the monetary component of the Settlement, which will result in
 3   over $5 million in direct cash payments, will provide the Class Members with
 4   substantial awards under the circumstances. See, e.g., Officers for Justice, 688 F.2d
 5   at 624-30 (rejecting objector’s contentions that back pay portion of settlement, a
 6   $400,000 fund providing for maximum award of up to $3,720, was “grossly
 7   inadequate” and that there was no provision for damages for emotional distress);
 8   Block, 1985 WL 56614 (approving employment discrimination settlement
 9   providing for injunctive relief and cash fund of $300,000, with awards ranging from
10   $500 to $3,500). Here, the cash fund will be allocated to Class Members based on
11   a formula that accounts for their tenures and rates of pay. It is estimated that
12   individuals who have not previously released their claims will receive an average
13   net recovery of over $3,184.34 and that awards will range up to over $17,500. Pikus
14   Decl. ¶ 16.
15         Based on their expert’s analysis, Counsel estimates that the net $5 million-
16   plus Fund represents more than 20% of the Class’ actual lost wages at the time of
17   mediation, using aggressive but defensible assumptions. Sanford Decl. ¶ 10. Such
18   a result constitutes a reasonable and adequate recovery, especially in the
19   employment discrimination context. See, e.g., K.H. v. Sec’y of Dep’t of Homeland
20   Sec., No. 15-cv-02740, 2018 WL 6606248, at *4 (N.D. Cal. Dec. 17, 2018) (in light
21   of “significant issues in proving liability,” approving ADEA settlement providing
22   $1,500 to each class member who separated from defendant-employer, while
23   acknowledging that four plaintiffs could have potentially recovered up to $80-
24   100,000 each; thus, the settlement represented about 1.5-2% of the potential
25   recovery for those plaintiffs); Boyd v. Bechtel, Corp., 485 F. Supp. 610 (N.D. Cal.
26   1979) (approving settlement of $120,000 out of $750,000 maximum liability (or
27   16%) in Title VII and Section 1981 race discrimination case, without any non-
28   monetary relief component, where plaintiffs estimated that no more 18% of class

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 1   members would likely succeed in the damages phase of a trial). 13
 2         Notably, in many discrimination and other employment cases, courts approve
 3   settlements without providing an estimate of the recoverable damages or percentage
 4   recovery. See, e.g., Slaughter v. Wells Fargo Advisors, LLC, No. 13-cv-06368, 2017
 5   WL 3128802, at *2 (N.D. Ill. May 4, 2017) (granting final approval of employment
 6   discrimination settlement providing for both injunctive and monetary relief); Cook
 7   v. Howard Indus., Inc., No. 2:11CV41, 2013 WL 943664, at *2-3 (S.D. Miss. Mar.
 8   11, 2013) (approving employment discrimination settlement as “fair, reasonable,
 9   and adequate” based in part on raw valuation of cash fund and job benefits provided
10   to class); Officers for Justice, 688 F.2d at 627-29. 14
11

12   13
        See also del Toro Lopez v. Uber Techs., Inc., No. 17-cv-06255, 2018 WL
     5982506, at *2-3 (N.D. Cal. Nov. 14, 2018) (approving employment discrimination
13   settlement involving both injunctive and monetary relief; determining that expected
14   payments to class members “are fair and reasonable”). In briefing in that case,
     plaintiff’s counsel represented that the $10 million gross fund was “a reasonable
15   value in light of total potential damages, calculated by Plaintiffs to be $46.9 million,
     excluding liquidated damages and compensatory and punitive damages for potential
16   sexual harassment and hostile work environment claims,” del Toro Lopez v. Uber
17
     Techs., Inc., No. 17-cv-06255, 2018 WL 1773330 (N.D.Cal. March 26, 2018),
     claims which—unlike here—were apparently covered by the class release. The
18   gross fund thus represented approximately 21% of lost wages on compensation-
     related claims; the net fund of no more than $7,267,042 (after deduction of awarded
19   attorney’s fees and costs and service payments) amounted to 15.5% of this estimate.
     The settlement there also provided for 147,500 in additional payouts to the LWDA
20   and settlement administrator, which would take the percentage down further.
21   14
        See further, e.g., Gilliam v. Addicts Rehab. Ctr. Fund, No. 05 Civ. 3452, 2008
     WL 782596, at *5 (S.D.N.Y. Mar. 24, 2008) (in wage and hour case, approving
22   settlement assuring immediate payment of a “significant amount of compensation
23   for class members” as not “grossly inadequate” even though only “a fraction of the
     best possible recovery”; individual awards were likely to average $1,100) Flores v.
24   ADT LLC, No. 1:16-cv-0029, 2018 WL 1062854, at *10 (E.D Cal. Feb. 27, 2018)
     (in wage-and-hour case, deferring to “the Parties’ agreement that the [settlement]
25   amount provides adequate compensation for class members”); Chiaramonte v.
26
     Pitney Bowes, Inc., No. 06 CV 1507, 2008 WL 510765, at *6 (S.D. Cal. Feb. 25,
     2008) (approving wage-and-hour settlement where parties provided no concrete
27   estimate of potential recovery; noting that settlement funds that are “only a fraction
     of the potential recovery” have been approved, and citing case approving 6%
28   recovery).

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 1         Settlements in other types of employment actions also provide ample support.
 2   See, e.g., Roe v. Jose Torres L.D. Latin Club Bar, Inc., No. 19-cv-06088, 2020 WL
 3   5074392, at *6 (N.D. Cal. Aug. 27, 2020) (approving gross wage-and-hour
 4   settlement representing “approximately 7.07% of the maximum potential recovery”
 5   as providing “good value”: “Courts in this district have approved settlements at
 6   comparable rates compared to the maximum recoverable at trial.”); Stovall-Gusman
 7   v. W.W. Granger, Inc., No. 13-cv-02540, 2015 WL 3776765, at *4 (N.D. Cal. June
 8   17, 2015) (approving net wage-and-hour settlement representing “about 7.3% of
 9   Plaintiff’s estimated trial award”: “[T]he Court finds that [these] figures are ‘within
10   the range of reasonableness’ in light of the risks and costs of litigation.”); Ma, 2014
11   WL 2472316, at *3 (wage-and-hour case: “[T]he settlement constitutes 9.1% of the
12   total potential value of the action, if the class attained a full, favorable trial verdict
13   on all causes of action; and 18.5% of the likely potential value of the action, if the
14   class attained a favorable trial verdict on its strong causes of action. The average
15   payment per claimant is $2,528.44. . . .[I]t is not uncommon for a class action
16   settlement to amount to approximately 10% of the total potential value.”) (citations
17   omitted); In re High-Tech Employees Antitrust Litig., No. 11-CV-02509, 2015 WL
18   5159441, at *4 (N.D. Cal. Sept. 2, 2015) (in employment case involving alleged
19   wage suppression, approving total settlements that “exceed[ed] 14 percent of
20   Plaintiffs’ proposed single damages estimate. . . .District courts in the Ninth Circuit
21   routinely approve settlements with much larger differences between the settlement
22   amount and estimated damages.”) (collecting cases).
23         Numerous other employment cases indicate that a recovery approximating
24   20% or less of wage damages warrants approval. See Ferrell v. Buckingham
25   Property Mgmt., No. 1:19-cv-00332, 2020 WL 291042, at *19 n.20 (E.D. Cal. Jan.
26   21, 2020) (collecting wage-and-hour and other cases with single-digit percentage
27   recoveries); DeLeon v. Ricoh USA, Inc., No. 18-cv-03725, 2020 WL 1531331, at
28   *9 (N.D. Cal. Mar. 31, 2020) (concluding that settlement representing a 10.85%

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 1   recovery, with net benefits amounting to about 7% of estimated wage damages, was
 2   “fair in relation to the risks of continued litigation”); Rivas v. BG Retail LLC, No.
 3   16-cv-06458, 2020 WL 264401, at *5-6 (N.D. Cal. Jan. 16, 2020) (approving wage-
 4   and-hour settlement “of approximately 6.12% of Defendants’ maximum potential
 5   exposure for class claims (with 2.4% net recovery to the class)”); Singh v.
 6   Roadrunner Intermodal Servs., LLC, No. 1:15-cv-01497, 2019 WL 316814, at *5
 7   (E.D. Cal. Jan. 24, 2019) ($5,868,517.01 net settlement out of $77,248,533
 8   maximum damages calculation (or 7.6%), “exclusive of penalties, interest, and the
 9   value of the PAGA claim”); Betancourt, 2016 WL 344532, at *5 (wage-and-hour
10   settlement amounting to “9.7% of the total maximum potential recovery that class
11   members would be entitled to if they prevailed on all claims”); Altamirano v. Shaw
12   Indus., Inc., No. 13-cv-00939, 2016 WL 1271046, at *4 (N.D. Cal. Mar. 31, 2016)
13   (gross settlement representing “approximately 14.3% of the unpaid wages at issue,
14   excluding penalties,” resulting in net recovery of 9.5% of “unpaid wages potentially
15   recoverable at trial”); Cruz v. Sky Chefs, Inc., No. C–12–02705, 2014 WL 7247065,
16   at *5 (N.D. Cal. Dec. 19, 2014) (gross settlement representing 8.6% of maximum
17   recovery); Thomas v. Cognizant Tech. Solutions U.S. Corp., No. Sacv 11-1123,
18   2013 WL 12371622, at *6 (C.D. Cal. June 24, 2013) (finding settlement to be “fair
19   and reasonable. The amount class members will receive is between 4.4 and 5% of
20   the maximum liability figure plus the predicted penalties ($43,411,639.94 when
21   discounted for class certification risks), in the range of 3.7% to 12.8% of all
22   potential recoveries (assuming a range of 16 million to 50 million…)”). 15
23   15
        See further, e.g., Acosta v. Evergreen Moneysource Mortg. Corp., No. 2:17-cv-
24   00466, 2019 WL 6051117, at *11 (E.D. Cal. Nov. 15, 2019) (in wage-and-hour
     case, approving settlement as fair when it amounted to 14.4-21.3% of maximum
25   possible recovery, resulting in an a net recovery of 9.1-13.5% per employee);
26
     Kurihara v. Best Buy Co., No. C-06-1884, 2009 WL 10692779, at *8 (N.D. Cal.
     Oct. 14, 2009), r&r adopted in relevant part at 2010 WL 11575623 (N.D. Cal. Apr.
27   1, 2010) (approving gross settlement of $5 million, including attorney’s fees and
     other disbursements, where objector submitted the declaration of a purported expert
28   asserting that two of the multiple claims were alone valued at $93 million).

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 1         Wage and hour actions like these are especially useful reference points
 2   because they include similar measures of damages, including liquidated damages in
 3   many cases (which inflate maximum exposure estimates), but are frequently less
 4   challenging to certify and try than discrimination class actions. Moreover, wage-
 5   and-hour settlements typically do not involve significant programmatic relief.
 6         Importantly, Defendants here not only vigorously contest liability but
 7   advanced a competing damages model showing substantially lower damages.
 8   Particularly together with the Settlement’s programmatic relief, “[t]his is precisely
 9   the stuff from which negotiated settlements are made.” Officers for Justice, 688
10   F.2d at 628; see also, e.g., Berkley, 59 Fed. Cl. at 686 (“In this case, the $30,000.00
11   lump sum payment amount falls between the plaintiffs’ and defendant’s ‘competing
12   notions of reasonableness.’”) (citation omitted). 16
13         Given the high degree of risk and uncertainty in further litigation, the
14   recovery provided by the Settlement is significant. Class Members are guaranteed
15   a recovery without taking any further action, unlike in a litigated case under the
16   Teamsters model. Cf. Booth v. Strategic Realty Tr. Inc., No. 13-cv-04921, 2015 WL
17   3957746, at *10 (N.D. Cal. June 28, 2015) (preliminarily approving class settlement
18   and emphasizing that “[t]his is not a claims-made settlement and class members are
19   not required to take any action to share in class funds”). Unless the Settlement is
20   approved, it is likely that the ensuing litigation would carry on for years. See, e.g.,
21   Officers for Justice, 688 F.2d at 629 (“The track record for large class action
22   employment discrimination cases demonstrates that many years may be consumed
23   by trial(s) and appeal(s) before the dust finally settles.”). In the meantime, “many
24   of the immediate and tangible benefits accruing from the settlement would be lost.”
25   16
       See also In re High-Tech Employees Antitrust Litig., 2015 WL 5159441, at *4
26   (noting that defendants were “prepared to vigorously contest” plaintiffs’ damages
     calculation); Wilkerson, 171 F.R.D. at 286 (“It is clear that a fact finder, when
27   confronted with diverging opinions from experts of this caliber, could adopt the
28
     approaches used by one expert, or the other; could reject both; or could arrive at a
     middle ground between the two . . . coming to an independent conclusion.”).
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 1   Id. A multi-year delay in effectuating the Settlement’s programmatic and monetary
 2   relief would benefit no one and only harm the Class.
 3         In light of the extensive discovery and protracted negotiation process leading
 4   to the Settlement, Fuschetti Decl. ISO Prelim. Approval (Doc. 6-3) ¶¶ 12-15, “there
 5   is little reason to believe that further settlement negotiations would result in any
 6   additional settlement funds.” Wright v. Stern, 553 F. Supp. 2d 337, 347 (S.D.N.Y.
 7   2008). Moreover, “[t]here is simply no assurance that more years of litigation would
 8   result in any greater recovery.” Velez v. Novartis Pharms. Corp., No. 04 Civ. 9414,
 9   2010 WL 4877852, at *15 (S.D.N.Y. Nov. 30, 2010) (quotation omitted); see also
10   Officers for Justice, 688 F.2d at 629 (“There is simply no indication . . . that any
11   judgment reached after a full trial would be sufficiently large, when discounted, to
12   reward the class members for their patience.”); Chu, 2011 WL 672645, at *4
13   (granting final approval where awards would be substantial and litigation risk was
14   significant); Columbus Drywall & Insulation, Inc. v. Masco Corp., 258 F.R.D. 545,
15   559-60 (N.D. Ga. 2007) (although a small fraction of the potential recovery at trial,
16   “the settlement offers plaintiffs the opportunity to obtain an immediate, certain
17   recovery . . . .Plaintiffs do not have any guarantee that they will receive a larger
18   recovery from the Settling Defendants were they to forgo the settlement offer.”).
19         As in Carlson v. C.H. Robinson Worldwide, Inc., No. CIV 02-3780, 2006
20   WL 2671105, at *6 (D. Minn. Sept. 18, 2006), another gender discrimination action:
21         The settlement provides substantial monetary and programmatic relief to
           the classes which justify the settlement in view of the substantial risks that
22
           the classes would not have prevailed at the class liability trial, would not
23         have been further certified for purposes of monetary relief, or the damages
           recovered would have been substantially less than those sought. . . . Even
24
           if the classes prevailed at the class liability trial, class members likely
25         would not obtain any individual monetary relief without several more
           years of litigation, including a likely appeal involving novel issues of law
26
           and numerous Teamsters mini-trials. Litigation expenses would continue
27         to increase as a result of continued litigation.
28   Accordingly: “it is prudent to accept a settlement that provides [claimants] both a

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 1   substantial monetary recovery and significant employment benefits now.”
 2   Wilkerson, 171 F.R.D. at 290.
 3                4.     The Extent of Discovery and Stage of the Proceedings
 4         This factor considers whether the Parties have “sufficient information to
 5   make an informed decision about the [s]ettlement.” In re Mego Fin. Corp. Sec.
 6   Litig., 213 F.3d 454, 459 (9th Cir. 2000). Here, there can be no question that this
 7   factor weighs strongly in favor of approval. As discussed above, the Parties were
 8   only able to reach this agreement after highly experienced counsel conducted
 9   extensive informal discovery and sharing of information, including the exchange of
10   documents and expert analysis of voluminous data. Fuschetti Decl. ISO Prelim.
11   Approval (Doc. 6-3) ¶¶ 12-13. The degree to which the Parties understood their
12   positions is further emphasized by the fact that they engaged in numerous rounds
13   of negotiation, including a mediation, overseen by an experienced mediator, that
14   extended well into the night. (Id. ¶ 14.) See, e.g., Chu, 2011 WL 672645, at *4
15   (noting that “the respective factual and legal strengths of the Parties’ arguments are
16   likely to have been sufficiently fleshed out” in the settlement process).
17         There is thus no reason to believe that this Settlement is premature or that
18   further information would help the Parties reach a fairer or more favorable result.
19                5.     The Experience and Views of Counsel
20         As discussed above, counsel for both sides are experienced in employment
21   class actions. They endorse the Settlement as fair, reasonable, and adequate.
22                6.     The Reaction of the Class Members to the Proposed Settlement
23         As detailed above, Class Members have had an extremely positive reaction
24   to the Settlement. The miniscule number of opt-outs (five) and lack of objections
25   indicate their resounding approval and preference to avoid further litigation. The
26   law is clear that the “absence of a large number of objections to a proposed class
27   action settlement raises a strong presumption that the terms of a proposed class
28   settlement action are favorable to the class members.” Giroux v. Essex Property Tr.,

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 1   Inc., No. 16-cv-01722, 2019 WL 2106587, at *4 (N.D. Cal. May 14, 2019) (citation
 2   omitted); see also DIRECTV, 221 F.R.D. at 528-29 (“The complete absence of
 3   Class Member objections to the Proposed Settlement speaks volumes with respect
 4   to the overwhelming degree of support for the Proposed Settlement among the Class
 5   Members. That unanimous, positive reaction . . . is compelling evidence that the
 6   Proposed Settlement is fair, just, reasonable, and adequate.”); Pan, 2017 WL
 7   3252212, at *10 (approving settlement where only four class members objected and
 8   the results of the objection and opt-out process showed that “3,466 of 3,483 class
 9   members find the Settlement to be in their best interest”). 17
10         This Court has followed suit, even where parties have been unable to present
11   it with class member declarations in support of a settlement. See Rodriguez v. El
12   Toro Limited P’ship, No. 8:16-cv-59-JLS-KES, Dkt. 98, at *7-8 (C.D. Cal. June 26,
13   2018) (Staton, J.) (collecting cases and finding that the lack of objections and
14   relatively small number of opt-outs supported approval). Here, Plaintiff has in fact
15   submitted a Class Member declaration in favor of the Settlement. Moreover,
16   numerous other Class Members have expressed their support to Counsel but are
17   reluctant to come forward with a public declaration. (Sanford Decl. ¶ 15.)
18                                           ***
19         In sum, there can be no question that this hard-won settlement is
20   “fundamentally fair, adequate, and reasonable.” Hanlon, 150 F.3d at 1026. The
21   Settlement not only protects all Class Members, including absent parties, but
22   affords them a significant recovery on the risky, complex claims pled in this case.
23   The Court should approve the Settlement.
24   17
       See also, e.g., Lane, 166 F. Supp. 3d at 1191 (“The absence of significant numbers
25   of objectors weighs in favor of finding the settlement to be fair, reasonable and
     adequate”); In re LinkedIn User Privacy Litig., 309 F.R.D. 573, 589 (N.D. Cal.
26   2015) (“A low number of opt-outs and objections in comparison to class size is
     typically a factor that supports settlement approval.”); Barbosa, 297 F.R.D. at 448
27   (no objections among class of 1,837 low-wage workers: “Where a settlement
28
     agreement enjoys overwhelming support from the class, this lends weight to a
     finding that the settlement agreement is fair, adequate, and reasonable.”).
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 1         D.     The Settlement Also Merits Approval Under the EPA
 2         The Federal EPA is part of the FLSA, 29 U.S.C. § 206(d). Under 29 U.S.C.
 3   § 216(b), “similarly situated” employees may pursue claims for wages together in
 4   an opt-in collective action. An opt-in settlement under the FLSA/EPA does not
 5   involve the rights of absent Class Members and is not subject to Rule 23(e). See,
 6   e.g., 29 U.S.C. §§ 216(b), 256. Nonetheless, courts review the settlement to ensure
 7   that it is a fair and reasonable compromise of a bona fide dispute. See, e.g., Lee v.
 8   Timberland Co., No. C 07-2367, 2008 WL 2492295 (N.D. Cal. June 19, 2008).
 9         “The standard for approval of an FLSA settlement is lower than for a Rule
10   23 settlement because an FLSA settlement does not implicate the same due process
11   concerns as does a Rule 23 settlement.” Willix v. Healthfirst, Inc., No. 07 Civ. 1143,
12   2011 WL 754862, at *5 (E.D.N.Y. Feb. 18, 2011); see also Hensley v. Eppendorf
13   N. Am., Inc., No. 14-CV-419, 2014 WL 2566144, at *2-3 (S.D. Cal. June 6, 2014);
14   Gamble v. Boyd Gaming Corp., Nos. 2:13-cv-01009, 2015 WL 4874276, at *4 n.2
15   (D. Nev. Aug. 13, 2015) (“[B]ased on the significant differences between
16   certification under Rule 23 and the joinder process under § 216(b), district courts
17   are not constrained by the mandates for proposed settlement of Rule 23 class
18   actions.”) (citation omitted). As set forth in such cases, an FLSA settlement need
19   only reflect a reasonable compromise of a bona fide dispute between the Parties.
20         Here, because the Settlement meets the Rule 23(e) standard, a fortiori it also
21   easily passes muster under the FLSA, as incorporated by the EPA. First, the Parties
22   plainly have bona fide disputes over Plaintiff’s EPA claims covering both liability
23   and damages and, absent settlement, whether final certification of a collective action
24   under the stage-two decertification standard is appropriate. See, e.g., Altier v.
25   Worley Catastrophe Response, Civ. No. 11-241, 2012 WL 161824, at *14 (E.D. La.
26   Jan. 18, 2012) Lee, 2008 WL 2492295, at *2. Second, under the circumstances,
27   Plaintiff maintains that there is little question that the Settlement represents a fair
28   and reasonable compromise of contested claims. See, e.g., Campanelli v. Hershey

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 1   Co., No. C 08-1862, 2011 WL 3583597, at *1 (N.D. Cal. May 4, 2011)
 2   (“substantial” payments achieved through arm’s length negotiations); Willix, 2011
 3   WL 754862, at *5. Moreover, unlike many cases, since each EPA collective action
 4   member is also a Rule 23 Class Member, by the time the settlement is approved,
 5   each employee will have received (i) a notice that meets the stringent requirements
 6   of Rule 23 and due process, and (ii) an opportunity to weigh in on the Settlement
 7   by appearing at the final fairness hearing.
 8   V.    CONCLUSION
 9         The Court has thoroughly examined and combed over the Parties’ Settlement
10   and recommended certain revisions. After undergoing this extensive process, the
11   Court preliminarily approved the Settlement as fair, reasonable, and adequate and
12   coming within the range of possible final approval. In reaching this decision, the
13   Court concluded that the Settlement’s robust program of programmatic relief was
14   “really fantastic” and would redound in very valuable benefits to the Class. (Tr. of
15   Prelim. Approval Hearing, at 12:1-6.) Class Members would be unlikely to achieve
16   such comprehensive provisions even after a successful trial on the merits. In
17   consequence, the Court authorized Notice to the Class Members so that they could
18   weigh in on the Settlement in connection with final approval.
19         Now, the Class Members have joined with the Court in speaking in a unified
20   voice in favor of the Settlement. The Class’s lack of objection and negligible opt-
21   out rate are potent evidence that the Settlement is fair, reasonable, and adequate in
22   all respects. It would serve the interest of the Class, the judicial system, and the
23   public to proceed with implementation of the Settlement—ensuring that the women
24   of Western Digital immediately receive the benefit of its comprehensive schedule
25   of programmatic and monetary relief—rather than foment years of contested,
26   burdensome, expensive, and risky litigation.
27         Accordingly, the Court should grant final approval of the Parties’ Settlement.
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                                       #:8701

 1    Dated: October 9, 2020              Respectfully submitted,

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                   PLAINTIFF’S MOTION FOR FINAL APPROVAL
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